
SAUNDERS, Judge,
dissenting.
Act 1993, No. 669, § 1 should not be applied retroactively. To do so would constitute an ex post facto application of the law in violation of both the United States Constitution and the Louisiana Constitution. See State v. Duke, 94 0312 (La.App. 1 Cir. 4/15/94); 635 So.2d 787, writ denied, 94-1285 (La. 9/16/94); 642 So.2d 192. Once the five year cleansing period expired prior to the commission of the subsequent DWI, the defendant obtained a vested right which cannot be extended by the retroactive application of the amendment to the statute. State v. Ferrie, 243 La. 416, 144 So.2d 380 (1962).
